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                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF MISSISSIPPI
                               OXFORD DIVISION

DONALD L. MCVEY                                                               PLAINTIFF

vs.                                                       CASE NO.: 3:15-CV-97-GHA-SAA

THE GREAT AMERICAN HOME STORE II,
INC. and VICK L. ETHERIDGE,Individually
                                                                DEFENDANTS
______________________________________________________________________________

         PLAINTIFF’S NOTICE OF SERVICE OF INITIAL DISCLOSURES
         PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 26(a)(1)
______________________________________________________________________________

       COMES NOW, Plaintiff, Donald McVey, and gives Notice that Plaintiff has disclosed to

Defendant, the information required by Fed. R. Civ. P. 26(a)(1).

       DATED, this, the 2nd day of November, 2015.

                                            Respectfully submitted,

                                            DONALD MCVEY, PLAINTIFF

                                            /s/ Christopher W. Espy               .
                                            Christopher W. Espy, Esq., MSB #102424
                                            MORGAN & MORGAN
                                            188 E. Capitol Street, Ste. 777
                                            Jackson, MS 39201
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                                            Email: cespy@forthepeople.com

                                            ATTORNEY FOR PLAINTIFF
      Case: 3:15-cv-00097-GHD-SAA Doc #: 19 Filed: 11/02/15 2 of 2 PageID #: 55




                                  CERTIFICATE OF SERVICE

        I, Christopher W. Espy, Esq., attorney for Plaintiff, do hereby certify that I have

electronically filed the foregoing with the Clerk of the Court using the CM/ECF system, which I

understand will send notification of such filing to all counsel of record.

        Further, I certify that I have served a copy of the foregoing documents upon all known

counsel of record via email.

        SO CERTIFIED, this the 2nd day of November, 2015.



                                                /s/ Christopher W. Espy .
                                                CHRISTOPHER W. ESPY, ESQ.




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